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                  IN THE UNITED STATES DISTRICT COURT FOR THE
                          NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

RED LABEL MUSIC PUBLISHING, INC., an              )
Illinois corporation; and RENAISSANCE             )
MARKETING CORPORATION, an Illinois                )
corporation,                                      )   Case No. 1:18-cv-07252
                                                  )
                      Plaintiffs,                 )   Honorable:
v.                                                )
                                                  )   Magistrate:
CHILA PRODUCTIONS; RICHARD                        )
LENKOV; SCOTT PRESTIN; ’85 BEARS                  )   JURY DEMANDED
DOCUMENTARY, LLC, an Illinois limited             )
liability company; WINDOW TO THE                  )
WORLD COMMUNICATIONS, INC., an                    )
Illinois not-for-profit corporation, d/b/a WTTW   )
TV; THE PUBLIC BROADCASTING                       )
SERVICE; UNITED CONTINENTAL                       )
HOLDINGS INC., a Delaware corporation;            )
AMAZON.COM, INC., a Delaware                      )
corporation; IMDB.COM, INC., a Delaware           )
corporation; APPLE INC., a California             )
corporation; GOOGLE LLC, a Delaware               )
limited liability company; FANDANGO               )
MEDIA, LLC, a Virginia limited liability          )
company; MICROSOFT CORPORATION, a                 )
Washington corporation; and AC JV, LLC, a         )
Delaware limited liability company, doing         )
business as FATHOM EVENTS,                        )
                                                  )
                      Defendants.                 )

                   COMPLAINT FOR COPYRIGHT INFRINGEMENT

       The Plaintiffs, RED LABEL MUSIC PUBLISHING, INC. and RENAISSANCE

MARKETING CORPORATION, by their attorneys, Gregg Minkow of Minkow & Bergman,

Ltd. and Samuel G. Levin, complain as follows of the Defendants, CHILA PRODUCTIONS,

RICHARD LENKOV, SCOTT PRESTIN, ’85 BEARS DOCUMENTARY, LLC , WINDOW

TO THE WORLD COMMUNICATIONS, INC., d/b/a WTTW TV, THE PUBLIC


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BROADCASTING SERVICE, UNITED CONTINENTAL HOLDINGS INC.,

AMAZON.COM, INC., APPLE INC., GOOGLE LLC, FANDANGO MEDIA, LLC,

MICROSOFT CORPORATION, and AC JV, LLC, doing business as FATHOM EVENTS:

                                     SUMMARY OF CASE

        1.     This action is brought by the owner, Red Label Music Publishing, Inc. (“Red

Label”) of the copyrights in the words, music, sound recording, and music video known as the

“Super Bowl Shuffle” (also referred to as the “Shuffle”), and Red Label’s licensing agent,

Renaissance Marketing Corporation (“Renaissance”).

        2.     Suit is brought against Chila Productions (“Chila”), Richard Lenkov (“Lenkov”)

and Scott Prestin (“Prestin”), producers of the film “’85: The Greatest Team in Football History”

(the “85 Bears Film”), first released in 2016, and ’85 Bears Documentary, LLC, shown in the

credits as the film’s author.

        3.     The film copied substantial portions of the Shuffle and was performed or

displayed on a Chicagoland television station (WTTW, Channel 11), possibly stations elsewhere

pursuant to distribution by the Public Broadcasting Service network (“PBS”), and as in-flight

entertainment by at least one airline (United), both in the U.S. and internationally.

        4.     It has also been copied and offered for rental, sale or viewing on various services

operated by WTTW and or PBS, Amazon.Com, Inc., Imdb.Com, Inc., Apple Inc., Google LLC,

Fandango Media, LLC, and Microsoft Corporation, with the Shuffle prominently mentioned in

much of the advertising.

        5.     Further, AC JV, LLC, doing business as Fathom Events, marketed, sold, and/or

otherwise caused copies to be displayed or performed in over 200 movie theaters throughout the

U.S.

        6.     All of this was done without permission from the copyright owner and exclusive

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licensing agent.

       7.      Thus, in addition to the claims against the producers and author, suit is also

brought against WTTW, PBS, the other online merchants, United, and Fathom Events for

reproducing, performing, displaying, selling, and/or distributing the copyright-protected works

without the copyright owner’s or its licensing agent’s consent.

       8.      In addition to remedies for infringement, Plaintiffs seek remedies under both

federal and state law to redress deceptive misimpressions resulting from the 85 Bears Film in

relation to the copyright-protected works.

                                             PARTIES

       9.      Plaintiff Red Label Music Publishing, Inc. (“Red Label”) is a corporation

organized under the laws of the State of Illinois with its registered office in Chicago, Illinois.

Red Label is the owner of the copyrights in the words, music, sound recording, and audio-visual

work known as the Super Bowl Shuffle, pursuant to United States Copyright Office registration

numbers Pau 793 097 (words and music), SR 77 602 (sound recording), and PA 290 856 (audio

visual work), V2486P131 (assignment), and V3608D238 (assignment).

       10.     Plaintiff Renaissance Marketing Corporation (“Renaissance”) is a corporation

organized under the laws of the State of Illinois with its registered office in Chicago, Illinois.

Julia Meyer (“Meyer”), widow of the Shuffle’s co-author and producer, Richard Meyer, is the

owner of both Red Label and Renaissance. Renaissance is the exclusive agent authorized by Red

Label to issue copyright licenses to parties like the Defendants for inclusion of the Super Bowl

Shuffle words, music, sound recording or audio visual work in vehicles like the 85 Bears Film,

pursuant to Renaissance’s agreement with Red Label.

       11.     Defendant Chila Productions (sometimes referred to herein as “Chila”) is a

business entity (on information and belief a general partnership) with principal offices in

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Chicago, Illinois. Chila widely advertises itself as the producer of the 85 Bears Film which

Plaintiffs cite for infringing the copyrights at issue.

        12.     Defendant Richard Lenkov (“Lenkov”) is a resident and domiciliary of the State

of Illinois, and offices in Chicago, Illinois.

        13.     Defendant Scott Prestin (“Prestin”) is a resident and domiciliary of the State of

California, residing or officing in Tarzana, California.

        14.     Defendant ’85 Bears Documentary, LLC (“Documentary, LLC”) is a limited

liability company organized under the laws of the State of Illinois with its principal offices in

Chicago, Illinois. Documentary, LLC is listed in the 85 Bears Film’s credits as its author.

        15.     Chila is jointly owned and operated by Lenkov and Prestin, on information and

belief as general partners in that entity. The credits screen in the 85 Bears Film’s shows Lenkov

and Prestin as the film’s Producers, and Prestin as its Director. Lenkov and Prestin are also the

Managers of Documentary, LLC.

        16.     Defendant Window To The World Communications, Inc. (“WTTW”) is a not-for-

profit corporation organized under the laws of the State of Illinois with its principal offices in

Chicago, Illinois. WTTW operates a television station by those call letters serving the greater

Chicago Metropolitan Area.

        17.     Defendant Public Broadcasting System (“PBS”) is a private, nonprofit media

enterprise owned by its member public television stations. PBS distributes programming to

nearly 350 locally owned and operated public television stations across the country and is funded

principally by these member stations and by the Corporation for Public Broadcasting. PBS

and/or WTTW also operate an online marketplace accessible in Illinois, and throughout the U.S.

and internationally, where copies of the 85 Bears Film could be purchased in 2016 or thereafter.



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       18.     Defendant United Continental Holdings Inc. (“United”) is a corporation organized

under the laws of the State of Delaware with its principal offices in Chicago, Illinois. United

operates United Airlines, which, among other things, provides in-flight entertainment on both

U.S. domestic flights and international flights, for remuneration in the form of a direct fee paid

by its flying customers, advertisers on the in-flight entertainment facilities, incremental ticket

pricing, and/or other means.

       19.     Defendant Amazon.com, Inc. (“Amazon.com”) is a corporation organized under

the laws of the State of Delaware with its principal offices in Seattle, Washington. Amazon.com

operates an online marketplace accessible in Illinois, and throughout the U.S. and internationally,

where copies of the 85 Bears Film can be rented, purchased, and viewed. In addition, on

information and belief, Amazon.com also owns and operates an online marketplace called IMDb

(via a subsidiary, IMDb.com, Inc.) accessible in Illinois, and throughout the U.S. and

internationally, where copies of the 85 Bears Film are marketed and from which either copies

can be rented, purchased or viewed directly or customers are directed to Amazon.com’s website

and “Prime” service to rent, purchase or view copies.

       20.     Defendant IMDb.com, Inc. (“IMDb.com”) is a corporation organized under the

laws of the State of Delaware with its principal offices in Tumwater, Washington. IMDB.com

operates an online marketplace accessible in Illinois, and throughout the U.S. and internationally,

where copies of the 85 Bears Film are marketed and from which either (i) copies can be rented,

purchased or viewed directly, or (ii) customers are directed to Amazon.com’s website and

“Prime” service to rent, purchase or view copies.

       21.     Defendant Apple Inc. (“Apple”) is a corporation organized under the laws of the

State of California with its principal offices in Cupertino, California. Apple operates an online



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marketplace accessible in Illinois, and throughout the U.S. and internationally, where copies of

the 85 Bears Film can be rented, purchased, and viewed.

        22.    Defendant Google LLC (“Google”) is a limited liability company organized under

the laws of the State of Delaware with its principal offices in Mountain View, California.

Google operates an online marketplace accessible in Illinois, and throughout the U.S. and

internationally, known as Google Play, where copies of the 85 Bears Film can be rented,

purchased, and viewed.

        23.    Defendant Fandango Media, LLC (“Fandango”) is a limited liability company

organized under the laws of the State of Delaware with its principal offices in Los Angeles,

California. Fandango operates an online marketplace accessible in Illinois, and throughout the

U.S. and internationally, known as FandangoNow, where copies of the 85 Bears Film can be

rented, purchased, and viewed.

        24.    Defendant Microsoft Corporation (“Microsoft”) is a corporation organized under

the laws of the State of Washington with its principal offices in Redmond, Washington.

Microsoft operates an online marketplace accessible in Illinois, and throughout the U.S. and

internationally, where copies of the 85 Bears Film can be rented, purchased, and viewed.

        25.    Defendant AC JV, LLC, doing business as Fathom Events (“Fathom”), is a

limited liability company organized under the laws of the State of Delaware with its principal

offices in Greenwood Village, Colorado. Fathom is a distributor of cinematic works nationwide.

                                 JURISDICTION AND VENUE

        26.    This is a civil action arising under the federal Copyright Act (at 17 U.S.C. § 101

et seq.).

        27.    This Court has original and subject matter jurisdiction over this copyright

infringement action pursuant to 28 U.S.C. §§ 1331 and 1338(a).

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        28.     This Court has supplemental jurisdiction over the state law claims pled herein,

which arise out of the same set of occurrences, under 28 U.S.C. § 1367(a).

        29.     This Court has personal jurisdiction over Defendants, pursuant to 735 ILCS 5/2-

209 (the Illinois Long-Arm Statute) and other applicable law, because, among other things, all of

the Defendants are doing business in the State of Illinois and in this judicial district on a regular

basis; Defendants Chila Productions, Lenkov, WTTW and United maintain offices in the State of

Illinois and in this judicial district; Defendants Chila Productions, Richard Lenkov, WTTW and

United reside in the State of Illinois and this judicial district; the acts of infringement complained of

herein occurred in the State of Illinois and in this judicial district; Defendants have caused injury

to be suffered by Plaintiffs and their intellectual property within the State of Illinois and this

judicial district, which was foreseeable to each Defendant; and the Defendants purposely

directed their respective infringing and otherwise wrongful activities to audiences within the

State of Illinois and this judicial district.

        30.     Venue is proper in this district pursuant to 28 U.S.C. §§ 1391(b)(1) and (2),

1391(c)(1) and (2), 1391(d), and 1400(a).

                           FEDERAL COPYRIGHT INFRINGEMENT

        31.     Since 2011 and earlier, pursuant to the Copyright Act (at 17 U.S.C. § 106), Red

Label has been the sole owner of those copyrights, and along with Renaissance, the only persons

lawfully authorized to grant licenses to reproduce, perform or display them in films, television

shows, and the like.

        32.     All the Defendants were on constructive notice of Red Label’s exclusive rights by

reason of their registration with the Copyright Office years before the release of the 85 Bears

Film, and indeed, WTTW (and potentially PBS) knew of those rights by reason of prior



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commercial interactions with Meyer and Renaissance pertaining to the Shuffle copyrights.

         33.    Chila aptly described the commercial value of the Shuffle and the copyrights

inherent therein in a pre-release “Director’s Statement” which Chila published online in or about

2017, which is attached as Exh. 1 1 and includes photographs of Lenkov and Prestin. It states, on

p. 1:

        “The significance of the “Super Bowl Shuffle” will also be discussed in this act, as the
         audacious publicity stunt “Shuffle” managed to go viral before social media knew what
         “viral” was. This daring mid-season statement, along with the colorful cast of individuals
         on the ‘85 Bears, made this team the standout in 1985, and memorable for decades to
         come.”

         34.    Chila and Documentary, LLC also presumably knew of the Plaintiffs’ exclusive

rights by reason of the involvement of Otis Wilson, listed in the film’s credits as an Executive

Producer and pictured on p. 5 of Exh. 1 with Prestin. Mr. Wilson is presently engaged in

separate litigation with Meyer and Renaissance, dating back to 2014 (temporarily removed to

this judicial district as Case No. 14-cv-2999), in which Meyer’s and Renaissance’s control over

the Shuffle copyrights is uncontested.

         35.    Despite Chila’s and Documentary, LLC’s constructive and presumably actual

knowledge of the Plaintiffs’ exclusive rights, and that it had not been granted a license

thereunder, Chila and Documentary, LLC infringed the Plaintiffs’ copyrights by reproducing

excerpts from the Shuffle music video, sound recording, words and music and including them in

the 85 Bears Film, and then reproducing, selling, and distributing, and/or arranging for their

further reproduction, performance, display, distribution and sale by distributing or purporting to




1
  Papers authored by persons other than the Plaintiffs are referenced in this Complaint and
attached hereto to show their content, but except as expressly stated otherwise in the main body
of this Complaint, Plaintiffs do not necessarily adopt as their own allegations, endorse, or profess
to be true, any of such content.
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license the film and its content to WTTW (which aired it in at least September 2016, and

advertised it for sale during telecasts); possibly to PBS for airing on other television stations; to

United Airlines (where it has been aired during domestic and international flights as part of in-

flight entertainment options during 2018 and possibly at other times); to various online sellers

since in or about 2016 or thereafter, including but not necessarily limited to WTTW and/or PBS;

Amazon.com (see Exh. 2, stating the film “chronicles how the 1985 Chicago Bears dominated on and

off the field as they shuffled their way to the championship”), IMDb.com (see Exh. 3, referring

to the “Super Bowl Shuffle Bears”), Apple’s iTunes service (see Exh. 4, also stating, “'85

chronicles how the 1985 Chicago Bears dominated on and off the field as they shuffled their way to the

championship”), Google Play (see Exh. 5), FandangoNow (see Exh. 6), and Microsoft (see Exh.

7); and to Fathom, for display or performance in more than 200 movie theaters throughout the

U.S. in or about January, 2018.

       36.     All of the above occurred without the permission of or any license from either of

the Plaintiffs, and was in violation of the Plaintiffs’ exclusive copyrights. Plaintiffs did not learn

of any of the above infringements until 2016 or later.

       37.     Each of WTTW and/or PBS, United, Amazon.com, IMDb.com, Apple, Google,

Fandango, and Microsoft has marketed and, on information and belief, made hard or soft copies

of the 85 Bears Film containing substantial excerpts from the Super Bowl Shuffle music, words,

sound recording and music video, and rented, sold, distributed, displayed and performed such

copies or online viewing thereof, while Fathom reproduced, distributed, marketed, sold, and/or

otherwise caused copies to be displayed or performed in over 200 movie theaters throughout the

U.S., all within the past three (3) years and all without permission from either of the Plaintiffs.

       38.     Through their conduct described herein, each of the Defendants has infringed Red



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Label’s copyrights in the Super Bowl Shuffle words, music, sound recording and music video or

audio-visual work in violation of the Copyright Act, a t 17 U.S.C. §§ 106 and 501.

        39.     The Defendants (except possibly WTTW, PBS and Fathom) continue to infringe

the Super Bowl Shuffle copyrights by continuing to sell, distribute, perform and display, and/or

purport to authorize the sale and distribution of, the 85 Bears Film containing excerpts of the

Super Bowl Shuffle in violation of those copyrights, and further have engaged in unfair trade

practices and unfair competition by reason of their conduct, thus causing irreparable damage.

        40.     Defendants' acts of infringement were and continue to be willful, intentional and

purposeful, in disregard of and with indifference to Plaintiffs' rights.

        41.     As a direct and proximate result of said infringements by the Defendants,

Plaintiffs are entitled to statutory damages in an amount to be determined at trial, if the Plaintiffs

so elect.

        42.     Plaintiffs are also entitled to the reasonable royalties or license fees Plaintiffs

should have received from each of the Defendants for the use of their copyright-protected works,

and/or Defendants' profits attributable to the infringements, pursuant to 17 U.S.C. § 504(b),

including an accounting of such profits, and/or any other damages suffered by reason of dilution

of sales of copyright licenses by Red Label or Renaissance, loss of goodwill inherent in the

Super Bowl Shuffle, or otherwise.

        43.     Plaintiffs further are entitled to their attorneys' fees and full costs pursuant to 17

U.S.C. § 505 and otherwise according to law.

        44.     As a direct and proximate result of the foregoing acts and conduct, Plaintiffs have

sustained and will continue to sustain substantial, immediate, and irreparable injury, for which

there is no adequate remedy at law.



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       45.     On information and belief, unless enjoined and restrained by this Court,

Defendants will continue to infringe Plaintiffs' rights in the Shuffle words, music, sound

recording, and music video. Plaintiffs are entitled to preliminary and permanent injunctive relief

to restrain and enjoin Defendants' continuing infringing conduct.

       WHEREFORE, the Plaintiffs respectfully request that:

       A.      Until this case is decided, the Defendants, the Defendants’ agents, and all persons

actively in concert with the Defendants, be enjoined from reproducing, selling, distributing,

displaying, or performing any portion of the 85 Bears Film containing Super Bowl Shuffle

words, music, sound recording or audio visual works, or portions thereof;

       B.      The Defendants be ordered to account for and pay as damages to the Plaintiffs all

profits and advantages gained from their copyright infringement and/or the reasonable royalties or

license fees Plaintiffs should have received from each of the Defendants for their use and

exploitation of the Plaintiffs’ copyright-protected works, and/or any other damages suffered by

reason of dilution of sales of copyright licenses by Red Label or Renaissance, loss of goodwill

inherent in the Super Bowl Shuffle, or otherwise, or, in the alternative, statutory damages if

elected by Plaintiffs, whichever is greater;

       C.      The Defendants be ordered to destroy or deliver for impoundment all copies of

the 85 Bears Film in the Defendants’ possession or control, and all materials used for making

infringing copies;

       D.      The Defendants be ordered to pay the Plaintiffs interest, costs, and reasonable

attorney’s fees; and

       E.      The Plaintiffs be awarded all other just relief.

       PLAINTIFFS DEMAND TRIAL BY 12-PERSON JURY ON ALL MATTERS TO THE



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EXTENT PERMITTED BY APPLICABLE LAW.

October 30, 2018

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                               ABOUT THE DOCUMENTARY

                DIRECTOR'S STATEMENT
  Since the league’s inception in 1922, very few NFL teams measure up in terms of quality or
  personality to the 1985 Chicago Bears. They were dominant on the gridiron, and omnipresent in
  the media. “’85: The Story Of The Greatest Team in Pro Football History” will reveal the full story
  behind this colorful, storied and arguably greatest team in professional football history.


  The film will open with a very brief recount of the history of the NFL. Backstory will be provided
  regarding the formation of the league as well the creation and evolution of the Super Bowl. Our
  opening will illustrate the societal weight of the sport and its beloved championship on
  American culture. A history of the Chicago Bears will follow, recounting the formation and
  movement of the esteemed franchise to one of the leagues largest markets. Chicago’s political
  and social vibe in the 80s will be discussed along with the Bears’ contributions. The success and
  popularity of the team over the years will be emphasized, while also noting that the ‘85 Super
  Bowl, while one of the NFL’s most memorable, was also the lone Super Bowl victory for one of
  the league’s oldest members.


  The story presses on to the inception of the ‘85 season. This section will include a review of the
  season prior, and the expectations of fans and players going into the 1985 schedule. The ‘85
  Bears’ well-known strengths will be discussed, as well as the hurdles that stood between the
  team and its long-desired but ever-allusive Super Bowl Championship. The narrative advances
  into the Bears regular season, as well as the teams two historic shut-out playoff victories.
  Interviewees, archival footage and other media will lead the audience through the ups and
  downs of the season; the troubled staff/player relationships, the ever-heightening expectations
  of fans and media and the legendary tenacity of the ‘85 Bears defense. This segment as others
  will include historic game-day footage, player testimony, as well as commentary from celebrity-
  fans and notable Chicagoans.


  The significance of the “Super Bowl Shuffle” will also be discussed in this act, as the audacious
  publicity stunt “Shuffle” managed to go viral before social media knew what “viral” was. This
  daring mid-season statement, along with the colorful cast of individuals on the ‘85 Bears, made
  this team the standout in 1985, and memorable for decades to come.


  Our story eventually arrives on the doorstep of Super Bowl XX. The neon of New Orleans, the
  hoards of press, the expectations of a dominant Bears team and its fans. We will revel in the




http://85bearsdoc.com/about.html                                                               9/28/2018
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  championship game as well as reveal the inside stories of the players and staff including the 46
  Defense, a Fridge touchdown (yet none for Payton), the domination of the Patriots… all leading
  to the unprecedented step of 2 coaches being carried off the field on players’ shoulders. The
  film culminates in a discussion of the ‘85 Bears importance to Chicago and the NFL. Are the ‘85
  Chicago Bears the greatest team in Pro Football history, and if so why did this dominant group
  not turn into a dynasty in the 1980s? In October of 2011, President Barack Obama invited the ‘85
  Chicago Bears to Washington D.C. for a long-overdue Presidential celebration of their
  championship season. On a sunny afternoon on the White House lawn, the leader of the free-
  world boastfully introduced the 1985 Chicago Bears to a garden-full of press and dignitaries as
  the “Greatest Team in NFL History”. Our film will celebrate the accomplishments of the ‘85
  Bears, while also striving to confirm this much shared but often argued opinion of America’s
  44th President and Chicago native.



  –Scott Prestin




                            THE EXECUTION
• The film will feature interviews with approximately 10 members of the 1985 Chicago Bears
  including Mike Ditka, Mike Singletary, Willie Gault, Dan Hampton, Richard Dent.

• We have already interviewed Jesse Jackson, Michael Wilbon, Rick Telander and Bill Kurits. We
  also have Jim Belushi attached to narrate.

• The Managers estimate the release would be in September of 2015 to coincide with the 30th
  Anniversary of the 1985 Chicago Bears.

• In addition to distributing the merchandise through our own channels, the Managers are in
  discussions with the Bears/NFL organization about a potential partnership.

• The Managers are exploring a number of distribution options for release of the film. The
  Managers would identify and select the best “windows” for premiering the film through
  traditional TV outlets (ESPN, FOX Sports), Video on Demand and Streaming Video on Demand
  Services (Netflix, Itunes, Amazon, etc.)




http://85bearsdoc.com/about.html                                                          9/28/2018
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                     PRODUCTION SHOTS




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http://85bearsdoc.com/about.html                                                   9/28/2018
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     About (about.html) | Press Release (press.html) | In The News (news.html) | The Team
                           (team.html) | Support Us (support.html)


             (http://85bearsdoc.tumblr.com)      (https://instagram.com/85bearsdoc/)




http://85bearsdoc.com/about.html                                                    9/28/2018
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                     EXHIBIT 2
Amazon.com: Watch 85: The Greatest Team In Football History | Prime Video      Page 1 of 4
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                                       Prime Video
                  Try Prime

   Deliver to                                                                                  EN       Hello. Sign in                                            0
   Northbrook 60062                   Your Amazon.com         Today's Deals                             Account & Lists           Orders      Try Prime                 Cart

  Prime Video     Prime Originals     TV Shows       Movies     Kids                              Your Watchlist     Your Video Library    Settings   Getting Started      Help




     85: The Greatest Team In Football
     History
                         (14)            7.3 102 min 2018

     Featuring interviews with Bill Murray, Mike Ditka, Mike Singletary and
     more, '85 chronicles how the 1985 Chicago Bears dominated on and off
     the field as they shuffled their way to the championship.

     Genres          Documentary, Sports
     Director        Scott Prestin
     Starring        Bill Murray, Mike Ditka, Matt Walsh



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https://www.amazon.com/85-Greatest-Team-Football-History/dp/B078Z1ZDC5                                                                                       10/17/2018
Amazon.com: Watch 85: The Greatest Team In Football History | Prime Video      Page 2 of 4
      Case: 1:18-cv-07252 Document #: 1 Filed: 10/30/18 Page 27 of 48 PageID #:27


      Director                          Scott Prestin

      Starring                          Bill Murray, Mike Ditka, Matt Walsh

      Studio                            Chila Productions

      Captions and                      English [CC] Details
      subtitles

      Audio                             English

      Purchase rights                   Stream instantly Details

      Format                            Prime Video (streaming online video)

      Devices                           Available to watch on supported devices


    Other formats
      DVD            Blu-ray
      $12.89         $14.99




    Customer reviews                                                                                              Most recent customer reviews

                         14                                                                                              weimj396
    3.5 out of 5 stars
                                                                                                                                 Can't get past Obama's voice in
    5 star                        43%          Share your thoughts with other customers                           the beginning!
    4 star                        14%                                                                             Sorry but this movie just lost my interest! I can't
    3 star                        14%              Write a customer review                                        get past the Obama voice in the beginning. I love
    2 star                        22%                                                                             the Chicago Bears. What a way to RUIN it!!!
    1 star                         7%                                                                             Published 2 days ago

    See all 14 customer reviews
                                                                                                                         Neal Robinson
    Top customer reviews
                                                                                                                                 if you like the Bears, its great,
                                                                                                                  otherwise...
             Shane Michael                                                                                        From a documentry film view point, the film just
                                                                                                                  rambles from player to personality, althewhile
                     CHICAGO BEARS ARE GREAT
                                                                                                                  playing atypical "sports doc" background music
    February 13, 2018
                                                                                                                  too loud. Read more
    Format: Prime Video        Verified Purchase
                                                                                                                  Published 19 days ago
    Amazing Documentary. I love the Chicago Bears, and i have a 85 Champions Jacket. I definitely
    recommend this
                                                                                                                         Amazon Customer
    .

    2 people found this helpful                                                                                                  One Star
                                                                                                                  This was a terrible documentary.
         Helpful          Not Helpful         Comment       Report abuse
                                                                                                                  Published 4 months ago


             Maxie                                                                                                       Captain Funky Junk

                     Wish it was '85 again....                                                                                   Nostalgic!
    April 20, 2018                                                                                                Nice stroll down memory lane.
    Format: Prime Video        Verified Purchase
                                                                                                                  Published 6 months ago
    After years of waiting for the Bears to take us to the super bowl, it finally happened after I moved out of
    state. There were so many stories I missed and this documentary caught me up on a few. Thank you!
                                                                                                                         Amazon Customer
    One person found this helpful
                                                                                                                                 Five Stars
         Helpful          Not Helpful         Comment       Report abuse                                          Great film, amazing interviews! A recommend for
                                                                                                                  any sports fan....
                                                                                                                  Published 7 months ago
             Jourdan

                     Four Stars
                                                                                                                         Sean E. Boudreaux
    April 19, 2018
    Format: Prime Video        Verified Purchase                                                                                 Undoubtedly the greatest
    Awesome documentary.                                                                                          football team of the 1980s and definitely the
                                                                                                                  greatest ...




https://www.amazon.com/85-Greatest-Team-Football-History/dp/B078Z1ZDC5                                                                                     10/17/2018
Amazon.com: Watch 85: The Greatest Team In Football History | Prime Video      Page 3 of 4
      Case: 1:18-cv-07252 Document #: 1 Filed: 10/30/18 Page 28 of 48 PageID #:28

    One person found this helpful                                                                              Undoubtedly the greatest football team of the
                                                                                                               1980s and definitely the greatest Bears team of
         Helpful         Not Helpful      Comment      Report abuse
                                                                                                               all time...


           Thomas Hatfield                                                                                     ... Read more
                                                                                                               Published 7 months ago
                   It seemed thrown together.
    June 14, 2018                                                                                              Search customer reviews
    Format: Prime Video      Verified Purchase

    Very disappointed in this. Mainly because the story jumps all over the place. If you didn't already know
    about this team, you wouldnt learn much. Each track from the score has the same mood and doesn't fit
    with most parts of the film, and mixed too loudly next to the voices of the interviewees and narrator.
    You're better off watching the 30 for 30 episode about the 85 Bears or their episode of America's
    Game.

    2 people found this helpful

         Helpful         Not Helpful      Comment      Report abuse


           dlmoodyjr

                   Five Stars
    March 4, 2018
    Format: Prime Video      Verified Purchase

    Da best bears documentary ever. Enough said.

    2 people found this helpful

         Helpful         Not Helpful      Comment      Report abuse


           E. Riebman

                   Insightful look behind the scenes
    February 2, 2018
    Format: Prime Video
    Insightful look behind the scenes of the unique characters of the greatest team. President Obama and
    Bill Murray's interviews take the film to the next level. Seeing what die hard Bears fans they are (and
    the original superfans George Wendt and Joe Mantegna) and how this team and city touched them
    made for an emotional and inspiring story. If you aren't moved by moments where teammates and
    Coach Ditka remember Walter Payton ("Sweetness") you should be hit by the Fridge.

    4 people found this helpful

         Helpful         Not Helpful      Comment      Report abuse


           JFA

                   Five Stars
    July 4, 2018
    Format: Prime Video
    Fantastic documentary!

    One person found this helpful

         Helpful         Not Helpful      Comment      Report abuse


           David Rodriguez

                   Greta documentary, worth viewing.
    January 30, 2018
    Format: Prime Video
    This is a very good documentary for anyone who lived during the '85 Bears run and those who weren't
    alive at the time. I only wish they had shown more game film or elaborated more on the x' s and o's of
    the team.

    One person found this helpful

         Helpful         Not Helpful      Comment      Report abuse


    See all 14 reviews




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Fabric                      Goodreads                    IMDb                        IMDbPro                   Junglee.com                  Kindle Direct Publishing        Prime Now
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                     EXHIBIT 3
'85: The Greatest Team in Pro Football History (2016) - IMDb                     Page 1 of 4
        Case: 1:18-cv-07252 Document #: 1 Filed: 10/30/18 Page 31 of 48 PageID #:31




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            '85: The Greatest Team in Pro                                   7.3/10            Rate
                                                                                              This
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            Football History (2016)
            1h 30min | Sport | 1 October 2016 (USA)




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                                   1:32 | Trailer                             1 VIDEO | 14 IMAGES


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        Case: 1:18-cv-07252 Document #: 1 Filed: 10/30/18 Page 32 of 48 PageID #:32




                                                                                                   This 'Orange is the         Disturbing Things Only
     See all 14 photos »                                                                           New Black' Star is          Adults Notice in 'Harry
                                                                                                   Gorgeous in Real Life       Potter'
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                                                                                                   A Crew Member Has           20 Movies That People
                                                                                                   Died After an Accident      Still Don't Understand
                                                                                                   On 'Mister Rogers' Set
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                                                       An intimate look into the life and work
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                                                       actor, Robin Williams.
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                                                                                                                    a list of 6758 titles
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          ◄ Prev 6 Next 6 ►                            Stars: Robin Williams, Steve Allen,…                         everything else to watch...
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                                                                                                                    created 30 Oct 2012


                                                                                           Edit
  Cast                                                                                            See all related lists »

  Credited cast:

        Barack Obama                             ...            Himself
                                                                                                  Related Items
                                                                                                          Search for "'85: The Greatest Team in
        Mike Singletary                          ...            Himself                                   Pro Football History" on Amazon.com


        Jim McMahon                              ...            Himself
                                                                                                  Share this Rating

        Jeremy Piven                             ...            Himself                           Title: '85: The Greatest Team in Pro Football
                                                                                                  History (2016)

        Mike Ditka                               ...            Himself                                    7.3/10
                                                                                                  Want to share IMDb's rating on your own site?
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                                                                                                    Show HTML              View more styles
        Bill Murray                              ...            Himself


        Jesse Jackson                            ...            Himself

        Phil Simms                               ...            Himself




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'85: The Greatest Team in Pro Football History (2016) - IMDb                     Page 3 of 4
        Case: 1:18-cv-07252 Document #: 1 Filed: 10/30/18 Page 33 of 48 PageID #:33




         Steve McMichael                                   ...         Himself


         Bill Kurtis                                       ...         Himself


  Rest of cast listed alphabetically:

         Ike Barinholtz                                    ...         Himself


         Rahm Emanuel                                      ...         Himself


         Willie Gault                                      ...         Himself


         Robert Smigel                                     ...         Himself


  See full cast »



                                                                                             Edit
  Storyline
  1985 Chicago Bears. This movie will reveal the full story behind the 1985 Super Bowl Shuffle
  Chicago Bears.

  Plot Summary | Add Synopsis


  Plot Keywords: nfl | super bowl | See All (2) »


  Genres: Sport


  Parents Guide: Add content advisory for parents »



                                                                                             Edit
  Details
  Official Sites: Official Site | Project Homepage
  Country: USA
  Language: English
  Release Date: 1 October 2016 (USA) See more »
  Filming Locations: Chicago, Illinois, USA


  Box Office                                                                                 Edit


  Budget: $650,000 (estimated)
  See more on IMDbPro »


  Company Credits
  Production Co: Chila Productions See more »
  Show more on IMDbPro »


  Technical Specs
  Runtime: 90 min
  Color: Color
  See full technical specs »




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  User Reviews
                       WRONG! '72 Dolphins are THE ONLY undefeated team in NFL history
  8 October 2018 | by brettkroeder – See all my reviews




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'85: The Greatest Team in Pro Football History (2016) - IMDb                     Page 4 of 4
        Case: 1:18-cv-07252 Document #: 1 Filed: 10/30/18 Page 34 of 48 PageID #:34


  Barack Obama knows is as wrong about this as his policies were for the country.


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                     EXHIBIT 4
'85: The Greatest Team in Football History on iTunes                             Page 1 of 2
        Case: 1:18-cv-07252 Document #: 1 Filed: 10/30/18 Page 36 of 48 PageID #:36




  iTunes Preview                                                                                                                                       Download iTunes



                                                                         '85: The Greatest Team in Football History

                                                                         Documentary ·  1 Hour 42 Minutes · 2018




      Featuring interviews with Bill Murray, Mike Ditka, Mike Singletary and more, '85 chronicles how the 1985 Chicago Bears dominated on and off the field as
      they shuffled their way to the championship.

      Rent $0.99 / Buy $12.99

       View in iTunes




      Trailers




      Trailer




      Cast & Crew
      Cast                                                                            Director
      Mike Ditka                                                                      Scott Prestin
      Bill Murray




https://itunes.apple.com/us/movie/85-the-greatest-team-in-football-history/id1339825221                                                                   10/17/2018
'85: The Greatest Team in Football History on iTunes                             Page 2 of 2
        Case: 1:18-cv-07252 Document #: 1 Filed: 10/30/18 Page 37 of 48 PageID #:37


         Information
             Studio      Chila Productions
             Genre       Documentary
         Released        2018

         Copyright       © 2017 Chila Productions




         Languages
         Primary       English (Stereo)




         Accessibility
                   Closed captions refer to subtitles in the available language with addition of relevant nondialogue information.




         Viewers Also Bought                                                                                                                                        See All




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         Strangers                        Neighbor?                      Documentary                Champions: Chicago         Everest 1963           In the Web
         Documentary                      Documentary                                               C…                         Documentary            Documentary
                                                                                                    Documentary




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         WHITNEY                          Three Identical                PEACE: An Element          Won't You Be My            Blood Line: The Life   Generation Wealth
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                     EXHIBIT 5
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     Family                                                   January 2018    102 minutes                                             4
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                                 Featuring interviews with Bill Murray, Mike Ditka, Mike Singletary and more, 85 chronicles how the
                                 1985 Chicago Bears dominated on and off the field as they shuffled their way to the championship.




                                 CAST AND CREDITS


                                 Actors                                               Director

                                 Bill Murray, Mike Ditka, Matt Walsh                  Scott Prestin




                                 REVIEWS                                                                                   Review Policy


                                                                                                                  Write a Review




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                                      3.8
                                                                5

                                                                4

                                                                3

                                                                2

                                            4 total             1




                                          Richard Roeper

                                          This is a great time capsule about a team that dominated the sport for one season, and then
                                          fell apart all too quickly due to a variety of factors.

                                           Full Review

                                          Dan Stevens
                                                         March 9, 2018
                                                                                                                              
                                          Not the greatest team... The 2013 Seahawks are.




                                ADDITIONAL INFORMATION

                                Audio Language                  Subtitles                    Rental Period
                                English                             English [CC]             Start within 30 days,
                                                                                             finish within 48 hours.


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                     EXHIBIT 6
'85: The Greatest Team in Football History | Buy, Rent or Watch on FandangoNOW   Page 1 of 2
        Case: 1:18-cv-07252 Document #: 1 Filed: 10/30/18 Page 42 of 48 PageID #:42




                                       '85: THE GREATEST TEAM IN FOOTBALL HISTORY
                                       2016 NR 102 min. Sports / Documentary
                                       Rotten Tomatoes® Score

                                           100%




                             HD                                           SD


                                                  Rent $4.99


                                                  Buy $12.99

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 Featuring interviews with Bill Murray, Mike Ditka, Mike Singletary and more, '85 chronicles how
 the 1985 Chicago Bears dominated on and off the field as they shuffled their way to the
 championship.

 Directed by: Scott Prestin
 Starring: Bill Murray, Mike Ditka, Matt Walsh

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                     EXHIBIT 7
Buy 85: The Greatest Team in Football History - Microsoft Store                  Page 1 of 4
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    85: The Greatest Team i…                   Overview                               Rent $4




    85: The Greatest Team in Football History
    2018      Documentary         1 h 42 min     English audio   CC   Unrated




             SD                  HD



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    Featuring
    interviews with Bill Murray, Mike Ditka, Mike Singletary and more, '85
    chronicles how the 1985 Chicago Bears dominated on and off the field as they




    Available on

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         Trailer




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    85: The Greatest Team i…                Overview                                  Rent $4




         Description
         Featuring interviews with Bill Murray,
         Mike Ditka, Mike
         Singletary and more, '85 chronicles how
         the 1985 Chicago Bears dominated on
         and
         off the field as they shuffled their way to
         the championship.



         Cast and crew




https://www.microsoft.com/en-us/p/85-the-greatest-team-in-football-history/8d6kgwxm9... 10/25/2018
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    85: The Greatest Team i…              Overview                                       Rent $4




         Additional information
         Studio              Released year       Genres               Additional terms
         Screen Media        2018                Documentary          Terms of
                                                                      transaction

         Subtitles           Duration            Size
         English (CC)        1 h 42 min          5.71 GB (1080p HD)
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